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 2
                                       UNITED STATES DISTRICT COURT
 3
                                             DISTRICT OF NEVADA
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 5
          Robert Lonnell Smith, Jr.,                         Case No. 2:23-cv-01183-CDS-DJA
 6
                                Plaintiff,
 7                                                                              Order
                v.
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          Washoe County, et al.,
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                                Defendants.
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                Before the Court is Plaintiff Robert Lonnell Smith’s motion to extend time to conduct
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      discovery. (ECF No. 40). Plaintiff seeks a 60-day extension and explains that he has had no
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      access to the law library. 1 Defendants filed a non-opposition to Plaintiff’s motion, but seek a
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      120-day extension given the pending report and recommendation granting Plaintiff’s motion to
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      amend. (ECF No. 41). Plaintiff specifies that he is seeking to extend discovery and “related
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      dispositive items.” So, the Court construes his motion as seeking to extend the discovery
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      deadline and subsequent deadlines and not the deadline to amend pleadings and add parties. The
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      Court finds that Plaintiff has demonstrated good cause and excusable neglect and thus grants his
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      motion. The Court grants it in part because it extends the deadlines by 120 days, instead of 60.
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      See Fed. R. Civ. P. 16(b)(4); see LR 26-3.
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                IT IS THEREFORE ORDERED that Plaintiff’s motion to extend time (ECF No. 40) is
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      granted in part and denied in part. It is denied in part regarding Plaintiff’s request to extend
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      the deadlines by 60 days because the Court extends the deadlines by 120 days. It is granted in all
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      other respects.
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       Plaintiff also asserts that he has filed a motion for appointment of counsel that is pending.
28    However, the Court has not received a motion for appointment of counsel in this case.
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 1          IT IS FURTHER ORDERED that the following deadlines shall govern discovery:

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 3                Close of discovery:                 April 3, 2025

 4                Discovery motions:                  April 17, 2025

 5                Dispositive motions:                May 5, 2025

 6                Pretrial order:                     June 4, 2025

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 8          DATED: January 3, 2025

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                                                      DANIEL J. ALBREGTS
11                                                    UNITED STATES MAGISTRATE JUDGE
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